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              IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                      WESTERN DISTRICT OF OKLAHOMA

In Re:                                        )
                                              )
MICHAEL JOHN MOHR                             )      Bk. No. 17-13915-JDL
CHRYSTAL RENE MOHR                            )      Chapter 13
                                              )
                       Debtor (s)             )


 RESPONSE TO TRUSTEE’S MOTION TO DISMISS FOR FAILIURE TO PAY
  PLAN PAYMENTS AND MOTION TO MODIFY CHAPTER 13 PLAN AND
             NOTICE OF OPPORTUNITY FOR HEARING

         COMES NOW, Debtors, Michael John Mohr and Chrystal Rene Mohr, by and
through counsel Kenneth L. Spears, and responds to the Trustee’s Motion to Dismiss for
Failure to Pay Plan Payments and Motion to Modify Chapter 13 Plan and Notice of
Opportunity of Hearing. In support thereof the Debtors state as follows:


   1.       Debtors filed a Chapter 13 petition and plan on September 29, 2017. On
            January 16, 2018, the Debtors plan was confirmed.

   2.       Debtors will continue making their regular mortgage payment in the amount
            of $3,813.00, beginning in May, 2018.

   3.       Debtors have listed their property for sale located at 3905 Creek Bank Rd.,
            Edmond, Oklahoma.

   4.       Debtors will modify their plan once the property is sold to omit the mortgage
            and arrearage to Bank of America.

   5.       Debtors shall be treated as current through April, 2018.

   6.       Debtors request their attorney receive $350.00 for preparation of this response
            and Motion and proposed Order Modifying the Chapter 13 Plan.

         WHEREFORE, Debtors pray this Court deny the Trustee’s Motion to Dismiss for
Failure to Pay Plan Payments.
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                                               /s/ Kenneth L. Spears
                                               _________________________
                                               Kenneth L. Spears, OBA #8484
                                               210 N.W. 10th Street
                                               Oklahoma City, Oklahoma 73103
                                               (405) 236-1503
                                               (405) 236-5818 fax
                                               Email: klspears@coxinet.net
                                               Counsel for Debtors


                    NOTICE OF OPPORTUNITY FOR HEARING

       Your rights may be affected. You should read this document carefully and
consult your attorney about your rights and the effect of this document. If you do not
want the Court to grant the requested relief, or you wish to have your views considered,
you must file a written response or objection to the requested relief with the Clerk of the
United States Bankruptcy Court for the Western District of Oklahoma, 215 Dean A.
McGee Avenue, Oklahoma City, OK 73102 no later than 21 days from the date of filing
of this request for relief. You should also serve a file-stamped copy of your response or
objection to the undersigned movant/movant’s attorney [and others who are required to
be served] and file a certificate of service with the Court. If no response or objection is
timely filed, the Court may grant the requested relief without a hearing or further notice.
        The 21 day period includes the three (3) days allowed for mailing provided
for in Bankruptcy Rule 9006(f).



                             CERTIFICATE OF SERVICE

        I herby certify that on the 20th day of April, 2018, I electronically transmitted a
Response to Trustee’s Motion to Dismiss for Failure to Pay Plan Payments and Motion to
Modify Chapter 13 Plan and Notice of Opportunity of Hearing the Clerk of the Court
using the ECF System for filing and transmittal of Notice of Electronic Filing and served
up on participants in the CM/ECF system namely:

John T. Hardeman 13trustee@chp13okc.com, trustee@chp13okc.com
Kenneth L. Spears klspears@coxinet.net
U.S. Trustee Ustpregion20.oc.ecf@usdoj.gov
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         Further, I certify that on the 20th day of April, 2018, copies of the Response to
Trustee’s Motion to Dismiss for Failure to Pay Plan Payments and Motion to Modify
Chapter 13 Plan and Notice of Opportunity for Hearing were forwarded via U.S.A. mail,
first class, postage prepaid and property address to the following at the address shown
below and attached mailing matrix:

Mr. & Mrs. Mohr
3905 Creek Bank Rd
Edmond, OK 73003-3543


                                             /s/ Kenneth L. Spears
                                             Kenneth L. Spears
